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                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF GEORGIA
                                                ATLANTA DIVISION


    In re: HCG SOFTWARE, LLC                                   §    Case No. 15-63347-JWC
                                                               §
                                                               §
                                                               §
                                Debtor(s)


                                            TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 07/16/2015. The
    undersigned trustee was appointed on 07/16/2015.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $         119,233.13
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                  39,000.00
                            Administrative expenses                                     0.00
                            Bank service fees                                       3,664.38
                            Other payments to creditors                                  0.00
                            Non-estate funds paid to 3rd Parties                         0.00
                            Exemptions paid to the debtor                                0.00
                            Other payments to the debtor                                 0.00
                            Leaving a balance on hand of1              $           76,568.75
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 11/02/2015 and the deadline for filing
    governmental claims was 01/12/2016. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $9,211.66. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $4,831.75, for a
    total compensation of $4,831.752. In addition, the trustee received reimbursement for reasonable and necessary
    expenses in the amount of $0.00 and now requests reimbursement for expenses of $154.77 for total expenses
    of $154.772.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 08/21/2020                                     By: /s/ S. Gregory Hays
                                                                         Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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                                                                 Form 1
                                                                                                                                                        Exhibit A
                                             Individual Estate Property Record and Report                                                               Page: 1

                                                              Asset Cases
Case No.:    15-63347-JWC                                                                   Trustee Name:      (300320) S. Gregory Hays
Case Name:         HCG SOFTWARE, LLC                                                        Date Filed (f) or Converted (c): 07/16/2015 (f)
                                                                                            § 341(a) Meeting Date:       08/25/2015
For Period Ending:          08/21/2020                                                      Claims Bar Date:      11/02/2015

                                        1                           2                      3                      4                    5                     6

                           Asset Description                     Petition/         Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
                (Scheduled And Unscheduled (u) Property)       Unscheduled        (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                                  Values                 Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                                 Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                            and Other Costs)

    1       Checks                                                  1,382.67                    1,382.67                                     0.00                         FA

    2       JPMorgan Chase Bank checking account                          0.00                      0.00                                     0.00                         FA

    3       U.S. Bank checking Account                                  346.60                   346.60                                      0.00                         FA

    4       Security deposit held by landlord                      34,667.00                        0.00                                     0.00                         FA
            Subject to offset against unpaid rent.

    5       Accounts Receivable                                    15,639.12                   15,639.12                               1,589.67                           FA

   6*       Judgment Against Public Sector                      1,031,652.50                   12,500.00                              25,000.00                           FA
            Solutions, Inc (See Footnote)

    7       Loan made to Andy Seitz                                 8,400.00                        0.00                                     0.00                         FA

    8       Unauthorized payments to Scott D.                       Unknown                         0.00                                     0.00                         FA
            Stanton

    9       Software and associated software code                   Unknown                    83,000.00                              83,000.00                           FA

   10       URL: previsionepm.com                                        50.00                     50.00                                     0.00                         FA

   11       URL: hcgsoftware.com                                         50.00                     50.00                                     0.00                         FA

   12       Miscellaneous office equipment (See                     1,000.00                    1,000.00                               1,000.00                           FA
            Attachment B

   13       Computers and monitors                                  1,500.00                    1,500.00                               1,500.00                           FA

   14       Servers                                                 3,500.00                    3,500.00                               3,500.00                           FA

   15       Tax Refunds (u)                                               0.00                   382.67                                    384.12                         FA

   16       Avoidance Action Claims (u)                                   0.00                  2,759.34                               2,759.34                           FA

   17       Insurance Payment (u)                                         0.00                   500.00                                    500.00                         FA

   17       Assets Totals (Excluding unknown values)           $1,098,187.89               $122,610.40                           $119,233.13                        $0.00


        RE PROP# 6              Public-Sector Solutions ("PSS") filed Chapter 7 in the District of Maryland. The Trustee for PSS has resolved a fraudulent
                                conveyance claims in that matter. The Trustee negotiated a settlement with the Trustee in the PSS bankruptcy case.




 Major Activities Affecting Case Closing:




 Initial Projected Date Of Final Report (TFR): 12/31/2017                        Current Projected Date Of Final Report (TFR):             08/21/2020 (Actual)




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                                                                                                                    Exhibit A
                                    Individual Estate Property Record and Report                                    Page: 2

                                                     Asset Cases
Case No.:   15-63347-JWC                                         Trustee Name:      (300320) S. Gregory Hays
Case Name:     HCG SOFTWARE, LLC                                 Date Filed (f) or Converted (c): 07/16/2015 (f)
                                                                 § 341(a) Meeting Date:    08/25/2015
For Period Ending:     08/21/2020                                Claims Bar Date:     11/02/2015


                     08/21/2020                                      /s/S. Gregory Hays
                        Date                                         S. Gregory Hays




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                                                            Form 2                                                                                  Exhibit B
                                                                                                                                                    Page: 1
                                            Cash Receipts And Disbursements Record
Case No.:              15-63347-JWC                                   Trustee Name:                        S. Gregory Hays (300320)
Case Name:             HCG SOFTWARE, LLC                              Bank Name:                           Mechanics Bank
Taxpayer ID #:         **-***6882                                     Account #:                           ******4866 Checking Account
For Period Ending: 08/21/2020                                         Blanket Bond (per case limit): $30,203,000.00
                                                                      Separate Bond (if applicable): N/A

    1          2                        3                                     4                                 5                       6                     7

  Trans.    Check or       Paid To / Received From       Description of Transaction           Uniform        Deposit              Disbursement       Account Balance
   Date      Ref. #                                                                          Tran. Code        $                        $

 08/04/15     {16}     Davis & Galm                  Preference funds from                    1241-000              2,759.34                                       2,759.34
                                                     garnishment to US Bank
 08/17/15     {15}     US Treasury                   Refund - 1st quarter 2015 Form           1224-000               382.67                                        3,142.01
                                                     941
 08/17/15     {17}     The Hartford                  Personal property damage                 1229-000               500.00                                        3,642.01
                                                     10/22/14
 08/31/15              Rabobank, N.A.                Bank and Technology Services             2600-000                                      10.00                  3,632.01
                                                     Fee
 09/09/15     {15}     US Treasury                   Refund of December 2008 form             1224-000                  1.45                                       3,633.46
                                                     944
 09/09/15     {5}      University of Arkansas        A/R Collection                           1121-000              1,500.00                                       5,133.46
 09/18/15     {9}      Home Brands Group LLC         Earnest Money Deposit. Sale of           1129-000          10,000.00                                         15,133.46
                                                     assets per Order, Dkt # 49.
                                                     Applied to Software & associated
                                                     code.
 09/24/15     {5}      MODA Health                   Final bill                               1121-000                89.67                                       15,223.13
 09/30/15              Rabobank, N.A.                Bank and Technology Services             2600-000                                      12.71                 15,210.42
                                                     Fee
 10/19/15              Home Brands Group LLCWells    Wire transfer. Sale of assets per                          40,000.00                                         55,210.42
                       Fargo SF                      Order, Dkt # 49.
              {9}      Home Brands Group, LLC        Allocation of sale proceeds to           1129-000
                                                     scheduled value of Software &
                                                     associated software code.
                                                                             $73,000.00
              {14}     Home Brands Group LLC         Allocation of sale proceeds to           1129-000
                                                     scheduled value of Servers.
                                                                              $3,500.00
              {13}     Home Brands Group LLC         Allocation of sale proceeds to           1129-000
                                                     scheduled value of Computers and
                                                     Monitors
                                                                              $1,500.00
              {12}     Home Brands Group LLC         Allocation of sale proceeds to           1129-000
                                                     scheduled value of Miscellaneous
                                                     equipment
                                                                              $1,000.00
                       William Smith                 Payment of secured claim in              4210-000
                                                     assets sold.
                                                                            -$39,000.00
 10/30/15              Rabobank, N.A.                Bank and Technology Services             2600-000                                      42.97                 55,167.45
                                                     Fees
 11/30/15              Rabobank, N.A.                Bank and Technology Services             2600-000                                      76.70                 55,090.75
                                                     Fees
 12/31/15              Rabobank, N.A.                Bank and Technology Services             2600-000                                      87.17                 55,003.58
                                                     Fees
 01/29/16              Rabobank, N.A.                Bank and Technology Services             2600-000                                      76.27                 54,927.31
                                                     Fees
 03/01/16              Rabobank, N.A.                Bank and Technology Services             2600-000                                      76.16                 54,851.15
                                                     Fees
 03/31/16              Rabobank, N.A.                Bank and Technology Services             2600-000                                      86.55                 54,764.60
                                                     Fees
 04/29/16              Rabobank, N.A.                Bank and Technology Services             2600-000                                      75.93                 54,688.67
                                                     Fees



                                                                                         Page Subtotals:      $55,233.13                $544.46


{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                    ! - transaction has not been cleared
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                                                             Form 2                                                                               Exhibit B
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                                             Cash Receipts And Disbursements Record
Case No.:              15-63347-JWC                                      Trustee Name:                     S. Gregory Hays (300320)
Case Name:             HCG SOFTWARE, LLC                                 Bank Name:                        Mechanics Bank
Taxpayer ID #:         **-***6882                                        Account #:                        ******4866 Checking Account
For Period Ending: 08/21/2020                                            Blanket Bond (per case limit): $30,203,000.00
                                                                         Separate Bond (if applicable): N/A

    1          2                        3                                        4                              5                    6                      7

  Trans.    Check or       Paid To / Received From          Description of Transaction         Uniform       Deposit           Disbursement        Account Balance
   Date      Ref. #                                                                           Tran. Code       $                     $

 05/31/16              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    75.82                 54,612.85
                                                         Fees
 06/30/16              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    86.18                 54,526.67
                                                         Fees
 07/29/16              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    75.60                 54,451.07
                                                         Fees
 08/31/16              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    85.91                 54,365.16
                                                         Fees
 09/30/16              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    77.98                 54,287.18
                                                         Fees
 10/31/16              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    75.27                 54,211.91
                                                         Fees
 11/30/16              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    82.95                 54,128.96
                                                         Fees
 12/30/16              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    77.64                 54,051.32
                                                         Fees
 01/31/17              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    82.91                 53,968.41
                                                         Fees
 02/28/17              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    72.45                 53,895.96
                                                         Fees
 03/31/17              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    80.10                 53,815.86
                                                         Fees
 04/28/17              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    72.24                 53,743.62
                                                         Fees
 05/31/17              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    85.03                 53,658.59
                                                         Fees
 06/30/17              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    77.17                 53,581.42
                                                         Fees
 07/31/17              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    74.49                 53,506.93
                                                         Fees
 08/31/17              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    84.66                 53,422.27
                                                         Fees
 09/29/17              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    74.27                 53,348.00
                                                         Fees
 10/31/17              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    81.84                 53,266.16
                                                         Fees
 11/30/17              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    76.61                 53,189.55
                                                         Fees
 12/29/17              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    73.95                 53,115.60
                                                         Fees
 01/25/18     {6}      Public-Sector Solutions, inc      Settlement of claim between HCG      1149-000          12,500.00                                       65,615.60
                       (Yumkas, Vidmar IOLTA)            Trustee, PSS Trustee, USL
                                                         Financials, Inc., and Konstantinos
                                                         Alexakis per Order, docket # 74.
 01/31/18              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    87.03                 65,528.57
                                                         Fees
 02/28/18              Rabobank, N.A.                    Bank and Technology Services         2600-000                                    87.96                 65,440.61
                                                         Fees
 03/05/18     {6}      Joesph J Bellinger, Trustee for   Settlement of claim between HCG      1149-000          12,500.00                                       77,940.61
                       Public-Sector Solutions           Trustee, PSS Trustee, USL
                                                         Financials, Inc., and Konstantinos
                                                         Alexakis per Order, docket # 74.
 03/30/18              Rabobank, N.A.                    Bank and Technology Services         2600-000                                   108.50                 77,832.11
                                                         Fees



                                                                                         Page Subtotals:      $25,000.00           $1,856.56


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                                              Cash Receipts And Disbursements Record
Case No.:              15-63347-JWC                                        Trustee Name:                     S. Gregory Hays (300320)
Case Name:             HCG SOFTWARE, LLC                                   Bank Name:                        Mechanics Bank
Taxpayer ID #:         **-***6882                                          Account #:                        ******4866 Checking Account
For Period Ending: 08/21/2020                                              Blanket Bond (per case limit): $30,203,000.00
                                                                           Separate Bond (if applicable): N/A

    1          2                        3                                           4                             5                      6                        7

  Trans.    Check or       Paid To / Received From           Description of Transaction          Uniform       Deposit             Disbursement          Account Balance
   Date      Ref. #                                                                             Tran. Code       $                       $

 04/30/18              Rabobank, N.A.                     Bank and Technology Services          2600-000                                     108.21                   77,723.90
                                                          Fees
 05/31/18              Rabobank, N.A.                     Bank and Technology Services          2600-000                                     122.98                   77,600.92
                                                          Fees
 06/29/18              Rabobank, N.A.                     Bank and Technology Services          2600-000                                     107.89                   77,493.03
                                                          Fees
 07/31/18              Rabobank, N.A.                     Bank and Technology Services          2600-000                                     118.89                   77,374.14
                                                          Fees
 08/31/18              Rabobank, N.A.                     Bank and Technology Services          2600-000                                     115.00                   77,259.14
                                                          Fees
 09/28/18              Rabobank, N.A.                     Bank and Technology Services          2600-000                                       59.26                  77,199.88
                                                          Fees
 10/31/18              Rabobank, N.A.                     Bank and Technology Services          2600-000                                       69.79                  77,130.09
                                                          Fees
 01/30/20              Transition transfer Debit          Transition transfer debit. Transfer   9999-000                                 77,130.09                         0.00
                                                          from Mechanics Bank account to
                                                          East West Bank account

                                            COLUMN TOTALS                                                         80,233.13               80,233.13                       $0.00
                                                   Less: Bank Transfers/CDs                                              0.00             77,130.09
                                            Subtotal                                                              80,233.13                  3,103.04
                                                   Less: Payments to Debtors                                                                     0.00

                                            NET Receipts / Disbursements                                         $80,233.13               $3,103.04




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                     ! - transaction has not been cleared
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                                              Cash Receipts And Disbursements Record
Case No.:              15-63347-JWC                                       Trustee Name:                   S. Gregory Hays (300320)
Case Name:             HCG SOFTWARE, LLC                                  Bank Name:                      East West Bank
Taxpayer ID #:         **-***6882                                         Account #:                      ******0099 Demand Deposit Account
For Period Ending: 08/21/2020                                             Blanket Bond (per case limit): $30,203,000.00
                                                                          Separate Bond (if applicable): N/A

    1          2                        3                                        4                             5                      6                       7

  Trans.    Check or       Paid To / Received From            Description of Transaction      Uniform       Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                          Tran. Code       $                       $

 01/30/20              Transition Transfer Credit          Transition Transfer Credit.       9999-000          77,130.09                                          77,130.09
                                                           Transfer from Mechanics Bank
                                                           account to East West Bank
                                                           account
 03/31/20              East West Bank                      Bank and Technology Service Fee   2600-000                                      61.63                  77,068.46
 04/30/20              East West Bank                      Bank and Technology Services      2600-000                                     123.18                  76,945.28
                                                           Fees
 05/29/20              East West Bank                      Bank and Technology Services      2600-000                                     118.88                  76,826.40
                                                           Fees
 06/30/20              East West Bank                      Bank and Technology Services      2600-000                                     130.98                  76,695.42
                                                           Fees
 07/31/20              East West Bank                      Bank and Technology Services      2600-000                                     126.67                  76,568.75
                                                           Fees

                                            COLUMN TOTALS                                                      77,130.09                   561.34               $76,568.75
                                                    Less: Bank Transfers/CDs                                   77,130.09                     0.00
                                            Subtotal                                                                  0.00                 561.34
                                                    Less: Payments to Debtors                                                                0.00

                                            NET Receipts / Disbursements                                           $0.00                  $561.34




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                  ! - transaction has not been cleared
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                                       Cash Receipts And Disbursements Record
Case No.:           15-63347-JWC                                     Trustee Name:                     S. Gregory Hays (300320)
Case Name:          HCG SOFTWARE, LLC                                Bank Name:                        East West Bank
Taxpayer ID #:      **-***6882                                       Account #:                        ******0099 Demand Deposit Account
For Period Ending: 08/21/2020                                        Blanket Bond (per case limit): $30,203,000.00
                                                                     Separate Bond (if applicable): N/A

                                       Net Receipts:                  $80,233.13
                            Plus Gross Adjustments:                   $39,000.00
                           Less Payments to Debtor:                         $0.00
                 Less Other Noncompensable Items:                           $0.00

                                         Net Estate:                 $119,233.13




                                                                                                        NET                       ACCOUNT
                                 TOTAL - ALL ACCOUNTS                             NET DEPOSITS     DISBURSEMENTS                  BALANCES
                                 ******4866 Checking Account                            $80,233.13          $3,103.04                     $0.00

                                 ******0099 Demand Deposit Account                             $0.00                    $561.34        $76,568.75

                                                                                        $80,233.13                 $3,664.38           $76,568.75




                 08/21/2020                                                  /s/S. Gregory Hays
                    Date                                                     S. Gregory Hays




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                                                           Exhibit C
                                             Analysis of Claims Register
                                Case:15-63347-JWC                       HCG SOFTWARE, LLC
                                                                                   Claims Bar Date: 11/02/15


 Claim                Claimant Name/                   Claim Type/                   Amount Filed/        Paid          Claim
                                                                       Claim Ref
  No.               <Category>, Priority                Date Filed                     Allowed          to Date        Balance

ADM1     S. Gregory Hays, Trustee                     Administrative                        $9,211.66          $0.00     $9,211.66
         2964 Peachtree Rd NW
                                                      10/09/15                              $9,211.66
         Ste 555
         Atlanta, GA 30305
         <2100-000 Trustee Compensation>
         , 200

ADM2     S. Gregory Hays, Trustee                     Administrative                         $295.09           $0.00       $295.09
         2964 Peachtree Rd NW
                                                      10/09/15                               $295.09
         Ste 555
         Atlanta, GA 30305
         <2200-000 Trustee Expenses>
         , 200

ADM3     Arnall Golden Gregory LLP                    Administrative                      $79,824.50           $0.00    $79,824.50
         Attn: Michael Bargar
                                                      09/03/19                            $79,824.50
         171 17th Street NW Ste 2100
         Atlanta, GA 30363-1031
         <3210-000 Attorney for Trustee Fees (Other
         Firm)>
         , 200

ADM4     Arnall Golden Gregory LLP                    Administrative                         $641.25           $0.00       $641.25
         Attn: Michael Bargar
                                                      09/03/19                               $641.25
         171 17th Street NW Ste 2100
         Atlanta, GA 30363-1031
         <3210-000 Attorney for Trustee Fees (Other
         Firm)>
         , 200

ADM5     Pierce McCoy PLLC                            Administrative                        $9,600.00          $0.00     $9,600.00
         Attn: Jonathan A. Grasso
                                                      01/26/18                              $9,600.00
         101 W. Main Street, Suite 101
         Norfolk, VA 23510
         <3210-000 Attorney for Trustee Fees (Other
         Firm)>
         , 200
         The Trustee and his other professions have agreed to the reduced payment of their fee applications and full
         payment of the Pierce McCoy PPLC's fee application.




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                                                         Exhibit C
                                              Analysis of Claims Register
                                Case:15-63347-JWC                    HCG SOFTWARE, LLC
                                                                                Claims Bar Date: 11/02/15

 Claim                Claimant Name/                 Claim Type/                  Amount Filed/        Paid          Claim
                                                                    Claim Ref
  No.               <Category>, Priority              Date Filed                    Allowed          to Date        Balance

ADM6     Hays Financial Consulting LLC             Administrative                      $36,150.00           $0.00    $36,150.00
         2964 Peachtree Road NW
                                                   09/03/19                            $36,150.00
         Ste 555
         Atlanta, GA 30305
         <3310-000 Accountant for Trustee Fees
         (Trustee Firm)>
         , 200

ADM7     Hays Financial Consulting LLC             Administrative                        $1,552.56          $0.00     $1,552.56
         2964 Peachtree Road NW
                                                   09/03/19                              $1,552.56
         Ste 555
         Atlanta, GA 30305
         <3320-000 Accountant for Trustee Expenses
         (Trustee Firm)>
         , 200

1P       Internal Revenue Service,                 Priority                                 $0.00           $0.00         $0.00
         <5800-000 Claims of Governmental Units - § 08/07/15                                $0.00
         507(a)(8)>
         , 570
         Filed as $7,566.06 priority claim. Amended/replaced by POC # 1P-5.
1P-2     Internal Revenue Service                   Priority                                $0.00           $0.00         $0.00
         401 W. Peachtree St.
                                                    08/07/15                                $0.00
         Stop-334D
         Atlanta, GA 30308
         <5800-000 Claims of Governmental Units - §
         507(a)(8)>
         , 570
         Filed as $499.34 priority claim. Amended/replaced by POC # 1P-5.
1P-3     Internal Revenue Service                   Priority                                $0.00           $0.00         $0.00
         401 W. Peachtree St.
                                                    08/07/15                                $0.00
         Stop-334D
         Atlanta, GA 30308
         <5800-000 Claims of Governmental Units - §
         507(a)(8)>
         , 570
         Filed as $499.34 priority claim. Amended/replaced by POC # 1P-5.
1P-4     Internal Revenue Service                   Priority                                $0.00           $0.00         $0.00
         401 W. Peachtree St.
                                                    08/07/15                                $0.00
         Stop-334D
         Atlanta, GA 30308
         <5800-000 Claims of Governmental Units - §
         507(a)(8)>
         , 570



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 Claim                   Claimant Name/              Claim Type/                 Amount Filed/        Paid          Claim
                                                                   Claim Ref
  No.                  <Category>, Priority           Date Filed                   Allowed          to Date        Balance
         Filed as $399.34 priority claim. Amended/replaced by POC # 1P-5.
1P-5     Internal Revenue Service                   Priority                             $396.83           $0.00       $396.83
         401 W. Peachtree St.
                                                    08/07/15                             $396.83
         Stop-334D
         Atlanta, GA 30308
         <5800-000 Claims of Governmental Units - §
         507(a)(8)>
         , 570

2        Tracy Blom,                                Priority                            $1,650.00          $0.00     $1,650.00
         <5300-000 Wages - § 507(a)(4)>             08/13/15                            $1,650.00
         , 510

3P       Kristina M. Smith,                         Priority                          $12,475.00           $0.00    $12,475.00
         <5300-000 Wages - § 507(a)(4)>             08/17/15                          $12,475.00
         , 510

5        Shellie Tetzlaff,                          Priority                             $506.62           $0.00       $506.62
         <5300-000 Wages - § 507(a)(4)>             08/19/15                             $506.62
         , 510

7        Molly Bradley,                             Priority                            $9,317.31          $0.00     $9,317.31
         <5300-000 Wages - § 507(a)(4)>             09/14/15                            $9,317.31
         , 510

8P       Brandon Frost,                             Priority                          $12,475.00           $0.00    $12,475.00
         <5300-000 Wages - § 507(a)(4)>             10/06/15                          $12,475.00
         , 510

9        Department of Consumer & Business          Priority                             $150.30           $0.00       $150.30
         Services
                                                    10/12/15                             $150.30
         350 Winter St
         Salem, OR 97309
         <5800-000 Claims of Governmental Units - §
         507(a)(8)>
         , 570

14P      Scott D. Stanton Trust                     Priority                               $0.00           $0.00         $0.00
         19188 SE Tillstrom
                                                    10/29/15                               $0.00
         Boring, OR 97009
         <5300-000 Wages - § 507(a)(4)>
         , 510


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 Claim                Claimant Name/                 Claim Type/                 Amount Filed/       Paid           Claim
                                                                   Claim Ref
  No.               <Category>, Priority              Date Filed                   Allowed         to Date         Balance
         Filed as $12,475 prioirity claim. Withdrawn by creditor per docket # 51.
17P      Scott D. Stanton                          Priority                           $12,475.00           $0.00    $12,475.00
         19188 SE Tillstrom Road
                                                   10/30/15                           $12,475.00
         Damascus, OR 97089
         <5300-000 Wages - § 507(a)(4)>
         , 510

20       Sheri Y. Peterson                         Priority                              $387.50           $0.00       $387.50
         10762 SE 78th Ave
                                                   10/30/15                              $387.50
         Portland, OR 97222
         <5300-000 Wages - § 507(a)(4)>
         , 510

21P      Oregon Department of Revenue               Priority                               $0.00           $0.00         $0.00
         955 Center St NE
                                                    12/22/15                               $0.00
         Salem, OR 97301
         <5800-000 Claims of Governmental Units - §
         507(a)(8)>
         , 570
         Filed as a $4,200.87 priority claim. Amended/replaced by POC # 21P-5.
21P-2    Oregon Department of Revenue               Priority                               $0.00           $0.00         $0.00
         955 Center St NE
                                                    12/22/15                               $0.00
         Salem, OR 97301
         <5800-000 Claims of Governmental Units - §
         507(a)(8)>
         , 570
         Filed as a $1,584.55 priority claim. Amended/replaced by POC # 21P-5.
21P-3    Oregon Department of Revenue               Priority                               $0.00           $0.00         $0.00
         955 Center St NE
                                                    12/22/15                               $0.00
         Salem, OR 97301
         <5800-000 Claims of Governmental Units - §
         507(a)(8)>
         , 570
         Filed as a $1,277.81 priority claim. Amended/replaced by POC # 21P-5.
21P-4    Oregon Department of Revenue               Priority                               $0.00           $0.00         $0.00
         955 Center St NE
                                                    12/22/15                               $0.00
         Salem, OR 97301
         <5800-000 Claims of Governmental Units - §
         507(a)(8)>
         , 570
         Filed as a $2,650.97 priority claim. Amended/replaced by POC # 21P-5.




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 Claim                Claimant Name/                 Claim Type/                 Amount Filed/        Paid          Claim
                                                                   Claim Ref
  No.               <Category>, Priority              Date Filed                   Allowed          to Date        Balance

21P-5    Oregon Department of Revenue               Priority                            $1,531.79          $0.00     $1,531.79
         955 Center St NE
                                                    12/22/15                            $1,531.79
         Salem, OR 97301
         <5800-000 Claims of Governmental Units - §
         507(a)(8)>
         , 570

22P      City of Portland                           Priority                             $209.66           $0.00       $209.66
         1224 SW 4th Avenue
                                                    01/12/16                             $209.66
         Portland, OR 97204
         <5800-000 Claims of Governmental Units - §
         507(a)(8)>
         , 570

1U       Internal Revenue Service,                 Unsecured                               $0.00           $0.00         $0.00
         <7300-000 Section 726(a)(4) Fines,        08/07/15                                $0.00
         Penalties>
         , 630
         Filed as $200 penalty claim claim under §726(a)(4). Amended/replaced by POC # 1U-5.
1U-2     Internal Revenue Service                  Unsecured                               $0.00           $0.00         $0.00
         401 W. Peachtree St.
                                                   08/07/15                                $0.00
         Stop-334D
         Atlanta, GA 30308
         <7300-000 Section 726(a)(4) Fines,
         Penalties>
         , 630
         Filed as $200 penalty claim claim under §726(a)(4). Amended/replaced by POC # 1U-5.
1U-3     Internal Revenue Service                  Unsecured                               $0.00           $0.00         $0.00
         401 W. Peachtree St.
                                                   08/07/15                                $0.00
         Stop-334D
         Atlanta, GA 30308
         <7300-000 Section 726(a)(4) Fines,
         Penalties>
         , 630
         Filed as $100 penalty claim claim under §726(a)(4). Amended/replaced by POC # 1U-5.
1U-4     Internal Revenue Service                  Unsecured                               $0.00           $0.00         $0.00
         401 W. Peachtree St.
                                                   08/07/15                                $0.00
         Stop-334D
         Atlanta, GA 30308
         <7300-000 Section 726(a)(4) Fines,
         Penalties>
         , 630
         Filed as $100 penalty claim claim under §726(a)(4). Amended/replaced by POC # 1U-5.



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 Claim                 Claimant Name/                 Claim Type/                 Amount Filed/        Paid          Claim
                                                                    Claim Ref
  No.                <Category>, Priority              Date Filed                   Allowed          to Date        Balance

1U-5     Internal Revenue Service                    Unsecured                             $43.14           $0.00        $43.14
         401 W. Peachtree St.
                                                     08/07/15                              $43.14
         Stop-334D
         Atlanta, GA 30308
         <7300-000 Section 726(a)(4) Fines,
         Penalties>
         , 630
         Penalty claim claim under §726(a)(4).
3U       Kristina M. Smith,                          Unsecured                           $3,379.15          $0.00     $3,379.15
         <7100-000 Section 726(a)(2) General         08/17/15                            $3,379.15
         Unsecured Claims>
         , 610

4        Energetiq Technology, Inc.,                 Unsecured                         $12,000.00           $0.00    $12,000.00
         <7100-000 Section 726(a)(2) General         08/17/15                          $12,000.00
         Unsecured Claims>
         , 610

6        Global Network Support, Inc.,               Unsecured                         $15,186.50           $0.00    $15,186.50
         <7100-000 Section 726(a)(2) General         08/25/15                          $15,186.50
         Unsecured Claims>
         , 610

8U       Brandon Frost,                              Unsecured                           $2,397.78          $0.00     $2,397.78
         <7100-000 Section 726(a)(2) General         10/06/15                            $2,397.78
         Unsecured Claims>
         , 610

10       Christina Pak-Hanratty                      Unsecured                        $100,000.00           $0.00   $100,000.00
         1123 Bluffhaven Way
                                                     10/20/15                         $100,000.00
         Atlanta, GA 30319
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

11       Bryan Cave LLP c/o Sarah M. Good            Unsecured                         $20,311.14           $0.00    $20,311.14
         One Atlantic Center-14th Flr.
                                                     10/28/15                          $20,311.14
         1201 W. Peachtree Street, NW
         Atlanta, GA 30309-3471
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610




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 Claim                 Claimant Name/                 Claim Type/                 Amount Filed/       Paid           Claim
                                                                    Claim Ref
  No.                <Category>, Priority              Date Filed                   Allowed         to Date         Balance

12       Daniel P. Stanton Trust Attn: Dan Stanton   Unsecured                         $75,000.00           $0.00    $75,000.00
         112 Ortega Court
                                                     10/28/15                          $75,000.00
         Erie, CO 80516
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

13       Parsons Farnell & Grein, LLP                Unsecured                        $247,227.91           $0.00   $247,227.91
         1030 SW Morrison Street
                                                     10/28/15                         $247,227.91
         Portland, OR 97205
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

14U      Scott D. Stanton Trust                      Unsecured                              $0.00           $0.00         $0.00
         19188 SE Tillstrom
                                                     10/29/15                               $0.00
         Boring, OR 97009
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610
         Filed as $512,609 unsecured claim. Withdrawn by creditor per docket # 51.
15       Scott D. Stanton                            Unsecured                        $370,600.00           $0.00   $370,600.00
         19188 SE Tillstrom Road
                                                     10/30/15                         $370,600.00
         Damascus, OR 97089
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

16       Scott D. Stanton Trust                      Unsecured                        $184,500.00           $0.00   $184,500.00
         c/o Scott D. Stanton
                                                     10/30/15                         $184,500.00
         19188 SE Tillstrom Road
         Damascus, OR 97089
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

17U      Scott D. Stanton                            Unsecured                        $512,609.00           $0.00   $512,609.00
         19188 SE Tillstrom Road
                                                     10/30/15                         $512,609.00
         Damascus, OR 97089
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610




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 Claim                Claimant Name/                 Claim Type/                 Amount Filed/        Paid           Claim
                                                                   Claim Ref
  No.               <Category>, Priority              Date Filed                   Allowed          to Date         Balance

18       William C. Smith, Jr.                      Unsecured                       $2,450,019.46          $0.00   $2,450,019.46
         507 Avery Creek Pointe
                                                    11/02/15                        $2,450,019.46
         Woodstock, GA 30188
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

19       Anthony C Seitz aka Andy Seitz             Unsecured                         $16,023.57           $0.00     $16,023.57
         17155 SW Carlson Street
                                                    10/28/15                          $16,023.57
         Sherwood, OR 97140
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

21U      Oregon Department of Revenue               Unsecured                              $0.00           $0.00          $0.00
         955 Center St NE
                                                    12/22/15                               $0.00
         Salem, OR 97301
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610
         Filed as a $1,050.00 unsecured claim. Amended/replaced by POC # 21U-5.
21U-2    Oregon Department of Revenue               Unsecured                              $0.00           $0.00          $0.00
         955 Center St NE
                                                    12/22/15                               $0.00
         Salem, OR 97301
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610
         Filed as a $7.50 unsecured claim. Amended/replaced by POC # 21U-5.
21U-3    Oregon Department of Revenue               Unsecured                              $0.00           $0.00          $0.00
         955 Center St NE
                                                    12/22/15                               $0.00
         Salem, OR 97301
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610
         Filed as a $7.50 unsecured claim. Amended/replaced by POC # 21U-5.
21U-4    Oregon Department of Revenue               Unsecured                              $0.00           $0.00          $0.00
         955 Center St NE
                                                    12/22/15                               $0.00
         Salem, OR 97301
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610
         Filed as a $2,757.50 unsecured claim. Amended/replaced by POC # 21U-5.




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 Claim                Claimant Name/                 Claim Type/                 Amount Filed/        Paid           Claim
                                                                   Claim Ref
  No.               <Category>, Priority              Date Filed                   Allowed          to Date         Balance

21U-5    Oregon Department of Revenue               Unsecured                           $2,757.50          $0.00      $2,757.50
         955 Center St NE
                                                    12/22/15                            $2,757.50
         Salem, OR 97301
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

22U      City of Portland                           Unsecured                             $60.00           $0.00         $60.00
         1224 SW 4th Avenue
                                                    01/12/16                              $60.00
         Portland, OR 97204
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610


                                                                                      Case Total:          $0.00   $4,200,965.22




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                                    TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                               Exhibit D


    Case No.: 15-63347-JWC
    Case Name: HCG SOFTWARE, LLC
    Trustee Name: S. Gregory Hays

                                                      Balance on hand:       $                              76,568.75

           Claims of secured creditors will be paid as follows:

  Claim      Claimant                                         Claim        Allowed            Interim          Proposed
  No.                                                      Asserted        Amount           Payments            Payment
                                                                           of Claim           to Date


                                                         None


                                                   Total to be paid to secured creditors:       $                   0.00
                                                   Remaining balance:                           $              76,568.75

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                           Total            Interim          Proposed
                                                                         Requested          Payments            Payment
                                                                                              to Date

  Trustee, Fees - S. Gregory Hays, Trustee                                  9,211.66                0.00        4,831.75
  Accountant for Trustee, Fees - Hays Financial Consulting LLC             36,150.00                0.00       18,961.58
  Accountant for Trustee, Expenses - Hays Financial Consulting LLC          1,552.56                0.00          814.36
  Trustee, Expenses - S. Gregory Hays, Trustee                                295.09                0.00          154.77
  Attorney for Trustee Fees (Other Firm) - Pierce McCoy PLLC                9,600.00                0.00        9,600.00
  Attorney for Trustee Fees (Other Firm) - Arnall Golden Gregory LLP       79,824.50                0.00       41,869.94
  Attorney for Trustee Fees (Other Firm) - Arnall Golden Gregory LLP          641.25                0.00          336.35
                        Total to be paid for chapter 7 administrative expenses:                 $              76,568.75
                        Remaining balance:                                                      $                   0.00

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                     Total           Interim             Proposed
                                                                       Requested       Payments            Payment

                                                         None


                      Total to be paid for prior chapter administrative expenses:               $                     0.00
                      Remaining balance:                                                        $                     0.00




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              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $51,575.01 must be paid in advance of any dividend to general (unsecured)
      creditors.
              Allowed priority claims are:
  Claim       Claimant                             Allowed Amount         Interim Payments            Proposed
  No.                                                     of Claim                  to Date            Payment

  1P          Internal Revenue Service                          0.00                    0.00               0.00
  1P-2        Internal Revenue Service                          0.00                    0.00               0.00
  1P-3        Internal Revenue Service                          0.00                    0.00               0.00
  1P-4        Internal Revenue Service                          0.00                    0.00               0.00
  1P-5        Internal Revenue Service                       396.83                     0.00               0.00
  2           Tracy Blom                                   1,650.00                     0.00               0.00
  3P          Kristina M. Smith                           12,475.00                     0.00               0.00
  5           Shellie Tetzlaff                               506.62                     0.00               0.00
  7           Molly Bradley                                9,317.31                     0.00               0.00
  8P          Brandon Frost                               12,475.00                     0.00               0.00
  9           Department of Consumer &                       150.30                     0.00               0.00
              Business Services
  14P         Scott D. Stanton Trust                            0.00                    0.00               0.00
  17P         Scott D. Stanton                            12,475.00                     0.00               0.00
  20          Sheri Y. Peterson                              387.50                     0.00               0.00
  21P         Oregon Department of Revenue                      0.00                    0.00               0.00
  21P-2       Oregon Department of Revenue                      0.00                    0.00               0.00
  21P-3       Oregon Department of Revenue                      0.00                    0.00               0.00
  21P-4       Oregon Department of Revenue                      0.00                    0.00               0.00
  21P-5       Oregon Department of Revenue                 1,531.79                     0.00               0.00
  22P         City of Portland                               209.66                     0.00               0.00

                                                    Total to be paid for priority claims:      $           0.00
                                                    Remaining balance:                         $           0.00




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              The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
              Timely claims of general (unsecured) creditors totaling $4,012,072.01 have been allowed and
      will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

  3U          Kristina M. Smith                               3,379.15                    0.00                      0.00
  4           Energetiq Technology, Inc.                     12,000.00                    0.00                      0.00
  6           Global Network Support, Inc.                   15,186.50                    0.00                      0.00
  8U          Brandon Frost                                   2,397.78                    0.00                      0.00
  10          Christina Pak-Hanratty                        100,000.00                    0.00                      0.00
  11          Bryan Cave LLP c/o Sarah M.                    20,311.14                    0.00                      0.00
              Good
  12          Daniel P. Stanton Trust Attn: Dan              75,000.00                    0.00                      0.00
              Stanton
  13          Parsons Farnell & Grein, LLP                  247,227.91                    0.00                      0.00
  14U         Scott D. Stanton Trust                              0.00                    0.00                      0.00
  15          Scott D. Stanton                              370,600.00                    0.00                      0.00
  16          Scott D. Stanton Trust                        184,500.00                    0.00                      0.00
  17U         Scott D. Stanton                              512,609.00                    0.00                      0.00
  18          William C. Smith, Jr.                       2,450,019.46                    0.00                      0.00
  19          Anthony C Seitz aka Andy Seitz                 16,023.57                    0.00                      0.00
  21U         Oregon Department of Revenue                        0.00                    0.00                      0.00
  21U-2       Oregon Department of Revenue                        0.00                    0.00                      0.00
  21U-3       Oregon Department of Revenue                        0.00                    0.00                      0.00
  21U-4       Oregon Department of Revenue                        0.00                    0.00                      0.00
  21U-5       Oregon Department of Revenue                    2,757.50                    0.00                      0.00
  22U         City of Portland                                   60.00                    0.00                      0.00
                           Total to be paid for timely general unsecured claims:                 $                  0.00
                           Remaining balance:                                                    $                  0.00

             Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
      paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
      have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
      applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

                                                          None




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                       Total to be paid for tardily filed general unsecured claims:          $                 0.00
                       Remaining balance:                                                    $                 0.00

          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $43.14 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                             Allowed Amount         Interim Payments              Proposed
  No.                                                   of Claim                  to Date              Payment

  1U        Internal Revenue Service                          0.00                    0.00                     0.00
  1U-2      Internal Revenue Service                          0.00                    0.00                     0.00
  1U-3      Internal Revenue Service                          0.00                    0.00                     0.00
  1U-4      Internal Revenue Service                          0.00                    0.00                     0.00
  1U-5      Internal Revenue Service                         43.14                    0.00                     0.00

                                                Total to be paid for subordinated claims: $                    0.00
                                                Remaining balance:                        $                    0.00




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